                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA,                       )
                                                )
              Plaintiff,                        )
                                                )
v.                                              )   No.: 3:12-CR-101-14-TAV-CCS
                                                )
BRAD BOLTON,                                    )
                                                )
              Defendant.                        )


                      MEMORANDUM OPINION AND ORDER

        This criminal matter is before the Court for consideration of the Report and

Recommendation entered by United States Magistrate Judge C. Clifford Shirley, Jr. (the

“R&R”) [Doc. 393]. The R&R addressed defendant Brad Bolton’s Motion to Dismiss

Indictment [Doc. 337]. Judge Shirley held a hearing on the motion on August 13, 2013

[Doc. 352]. He later issued the R&R, recommending that the Court deny the defendant’s

motion [Id. at 12]. The defendant has submitted objections to the R&R [Doc. 403], and

the government has submitted a response to those objections [Doc. 411].

I.      Background

        The defendant is charged with conspiracy to distribute and possess with intent to

distribute crack cocaine, distribution of crack cocaine, and money laundering [Doc. 3].

The defendant contends, however, that the indictment against him should be dismissed

because he alleges that two officers from the Roane County Sheriff’s Office, detectives

Kristopher Mynatt and Kelly Jason Mynatt (“Jason Mynatt”), had neither completed nor




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filed the appropriate state oath of office when they participated in the investigation of the

defendant in connection with this case [Doc. 403 p. 5]. The defendant submits that the

indictment against him should be dismissed because the participation of Kristopher

Mynatt and Jason Mynatt in the investigation of the defendant without having completed

or filed proper state oaths of office constituted illegal police misconduct that was

“outrageous” and “shocking to the universal sense of justice” [Id. at 10, 14–15]. The

defendant also “ask[s] the Court to verify that all police officers have properly complied

with all requirements referenced in [the] Motion to Dismiss,” including Roane County

Sheriff, Jack Stockton (“Sheriff Stockton”) [Id. at 9].

       In 2011 and 2012, Kristopher Mynatt participated in an investigation conducted

jointly by the FBI and DEA into a cocaine trafficking conspiracy that resulted in the

instant indictment of the defendant [Doc. 350-1 ¶ 9]. Kristopher Mynatt states that he

took an oath upon joining the Roane County Sheriff’s Office in 2006, and while there is

some dispute as to exactly when this oath was taken, the defendant concedes that Mynatt

had taken the oath by September 7, 2007 [Doc. 403 p. 8]. Yet, the defendant argues that

the oath taken by Kristopher Mynatt was deficient because it did not contain language

prohibiting him from taking fees, gifts, bribes, or gratuities [Id. at 9]. Judge Shirley

concluded that the defendant “failed to demonstrate that Tennessee law requires this

language for [sheriff’s] deputies” [Doc. 393 p. 6]. In addition, Kristopher Mynatt took

the requisite oaths when he was appointed as an FBI Task Force Officer in connection

with the instant investigation [Doc. 350-1 ¶ 6–8].

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       Jason Mynatt does not recall taking an oath of office when he joined the Roane

County Sheriff’s Office in 2007, but he took the requisite oaths when he was appointed as

an FBI Task Force Officer in connection with the instant investigation [Doc. 350-2 ¶¶ 4–

5]. He took an oath for his position as a detective with the Roane County Sheriff’s Office

in 2012 [Id. ¶ 6].    Within the investigation of the defendant, Jason Mynatt’s role

consisted of supervising a controlled purchase of cocaine base by the defendant on May

5, 2011 [Id. ¶ 7]. Kelly Jackson, a Kingston police investigator who participated in the

investigation, also supervised this controlled purchase [Id.]. This purchase formed the

basis for Count Twenty-One of the indictment against the defendant [Id.]. It appears that

the defendant has not received proof that Kelly Jackson took a properly administered

oath, and the defendant thus objects to any reliance by Judge Shirley on Jackson’s

additional supervision of the controlled purchase [Doc. 403 p. 9].        In addition, the

defendant submits that Jason Mynatt, Kristopher Mynatt, and Sheriff Stockton did not

have the requisite state oaths filed in the county clerk’s office, as required by Tennessee

law [Id. at 6].

       The defendant contends that the allegedly defective oaths and filings constitute

outrageous police misconduct that warrants dismissal of the indictment against him

because it amounts to a violation of the defendant’s due process rights [Id. at 10, Doc.

337 p. 1]. Accordingly, the defendant requests that the Court dismiss the indictment

against him pursuant to Rule 12(b)(3) of the Federal Rules of Criminal Procedure [Doc.

337 p. 1]. Judge Shirley recommended that the defendant’s motion be denied [Doc. 393

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p. 12], and the defendant has objected to the R&R issued by Judge Shirley on several

grounds [Doc. 403].

II.      Standard of Review

         As required by 28 U.S.C. § 636(b)(1) and Rule 59(b) of the Federal Rules of

Criminal Procedure, the Court has undertaken a de novo review of those portions of the

R&R to which the defendant has objected, considering the R&R, the motion to dismiss,

the parties’ underlying and supporting briefs, the defendant’s objections, and the

government’s response to those objections, all in light of the applicable law.

III.     Analysis

         After careful consideration, and for the following reasons, the Court will adopt the

R&R and deny the defendant’s motion to dismiss.

         A.    Objections That Are Not Materially Relevant to the Disposition of This
               Motion

         As will be subsequently discussed, in order for the Court to grant the defendant’s

motion and dismiss the indictment against him, the Court must find that the conduct by

the law enforcement officers at issue was “so outrageous that due process principles

would absolutely bar the government from invoking judicial processes to obtain a

conviction.” United States v. Russell, 411 U.S. 423, 431–32 (1973). To the extent that

the defendant’s objections to the R&R are not materially relevant to this determination,

the Court will overrule them.

         The defendant objects to any reliance by Judge Shirley upon the common law

concept of de facto officers and any application of such [Doc. 403 p. 4]. The issue that is
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determinative of the defendant’s motion is whether the alleged misconduct is so

outrageous that upholding the defendant’s due process rights requires dismissal of the

indictment, not whether the officers were in violation of Tennessee law during the

investigation. Thus, the applicability of the de facto officer concept is not materially

relevant to the determinative issue here, and the defendant’s objection is therefore

overruled. Similarly, the defendant objects to any reliance by Judge Shirley upon United

States v. O’Neal, 3:08-CR-107, 2013 WL 1089876 (E.D. Tenn. Mar. 15, 2013), and

Farmers & Merchants Bank v. Chester, 25 Tenn. 458 (1846), “to stand for the

proposition that the lack of an oath of office does not make the evidence gathered by Kris

and Jason Mynatt illegal” [Doc. 403 p. 6]. For the same reason, the Court overrules this

objection as not materially relevant to the dispositive question presented by the

defendant’s motion.

      The defendant also objects to the fact that the R&R does not address his allegation

that records of the oaths at issue were not filed in the Roane County Clerk’s Office as

required under Tennessee law [Id.]. Because the critical question is whether the conduct

at issue was outrageous, not whether it was fully compliant with Tennessee law, the

Court overrules this objection and will consider the alleged conduct in the context of

determining whether the law enforcement officers’ conduct was outrageous. Next, the

defendant submits that Judge Shirley erred by concluding that “Jason Mynatt was

authorized as a federal task force officer to supervise a controlled purchase of drugs from

[the defendant]” and objects to the suggestion that because Jason Mynatt took an oath in

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connection with his appointment to the federal task force, he was relieved of his

responsibility to take the state oath [Id. at 7]. The Court does not view the R&R as

standing for the proposition that taking this federal oath relieved Jason Mynatt of any

obligation to take the state oath and thus overrules this objection.

       The defendant further states that Judge Shirley erred by concluding that Kristopher

Mynatt took his oath of office on September 7, 2006, because the record of the oath

submitted by the government lists the date as September 7, 2007, which the government

alleges is a clerical error [Id. at 8, Doc. 350-1 p. 3]. Because both dates precede the

conduct at issue in this case and are not materially relevant to the question of

outrageousness, the Court overrules this objection. Likewise, alleged errors as to Judge

Shirley’s findings concerning whether a completed bond form was submitted with

Kristopher Mynatt’s oath, as well as allegations that he did not take the full oath, are not

materially relevant to the issue of outrageousness and are thus overruled.

       The defendant also asks the Court “to verify that all police officers have properly

complied with all requirements referenced in this Motion to Dismiss,” including Sheriff

Stockton and Kingston police investigator Kelly Jackson [Doc. 403 p. 9]. Similarly, the

defendant later objects to Judge Shirley’s finding that the defendant failed to provide any

proof that Sheriff Stockton did not have the requisite oath of office on file because the

defendant had asked the Court to verify that he did [Id. at 13]. As the movant, the

defendant has the burden of proffering evidence sufficient to invalidate the indictment,

and the defendant has not set forth facts or authority with regard to his allegations against

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Kelly Jackson and Sheriff Stockton sufficient to justify the relief he requests. Thus, these

objections are overruled.

       Further, the defendant submits that Judge Shirley erred by stating that the

defendant does not challenge the substance of the indictment because he is doing just that

by alleging that the charges against him resulted from police misconduct [Id. at 10]. The

Court will consider this objection in the context of the defendant’s objection to Judge

Shirley’s finding that the actions of the law enforcement officers in this case were not so

outrageous as to constitute a due process violation, which will be addressed below.

       Next, the defendant objects to Judge Shirley’s finding that “the Defendant has

failed to show that . . . Kristopher Mynatt’s oath does not comply with the constitutional

and statutory requirements of the state of Tennessee” [Id.]. Again, the question is not

whether Kristopher Mynatt’s oath complied with Tennessee law, but whether any

noncompliance rose to the level of a due process violation, which will be addressed

below. Therefore, this objection is overruled because it is not materially relevant to the

determinative issue. For the same reason, the Court overrules the defendant’s objection

to Judge Shirley’s finding that Kristopher Mynatt’s oath was sufficient regardless of

whether it mentioned bribery [Id. at 12]. This objection implicates the question as to

whether Tennessee law requires sheriffs’ deputies to take this portion of the oath, but

because the Court finds this question is not materially relevant to the outrageousness

issue, the Court need not address it here.




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       Moreover, the defendant objects to Judge Shirley’s finding that Jason Mynatt was

a sworn FBI task officer when he supervised the controlled purchase of narcotics by the

defendant, offering the argument that Sheriff Stockton would have been the person who

authorized Jason Mynatt to join this federal task force, and that if Sheriff Stockton did not

have a proper oath on file, he would have lacked such authority, rendering Jason

Mynatt’s appointment void [Id. at 13–14]. The defendant has not offered evidence or

authority to support these allegations, and they must therefore be denied.

       The defendant objects to any reliance by Judge Shirley on the government’s

argument that their supervision and recording of a controlled purchase of crack cocaine

by the defendant did not violate the defendant’s privacy interests [Id. at 14–15]. The

defendant does not argue that the Court should dismiss the indictment based on an

infringement upon his expectation of privacy or privacy interests, and thus the Court

overrules this objection as not materially relevant to the dispositive question of whether

the officers’ conduct was so outrageous that it violated the defendant’s due process rights.

The constitutionality of the officers’ conduct will be addressed in the following section.

       Finally, the defendant submits that Judge Shirley erred in relying on United States

v. Russell, 411 U.S. 423, 431 (1973), because the officers in that case were

unquestionably credentialed as officers of the state, whereas the instant officers were not

because of the deficiencies relating to their oaths. Because the Court finds that Judge

Shirley merely cited Russell for its recitation of the standard for evaluating the sort of due

process violation alleged here and as an example of facts failing to rise to that level, not

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as an analogous case dictating the same result in the present matter, the Court overrules

this objection.

       B.     The R&R’s Finding That Any Deficiencies Related to the Officers’
              Oaths Were Not So Outrageous as to Constitute a Due Process
              Violation

       The Supreme Court has stated: “we may some day be presented with a situation in

which the conduct of law enforcement agents is so outrageous that due process principles

would absolutely bar the government from invoking judicial processes to obtain a

conviction.” Russell, 411 U.S. at 431–32. To rise to this level, conduct must “violat[e]

that fundamental fairness, shocking to the universal sense of justice mandated by the Due

Process Clause of the Fifth Amendment.” Id. at 432 (citations and internal quotation

marks omitted). The Court later elaborated that “[t]he limitations of the Due Process

Clause of the Fifth Amendment come into play only when the Government activity in

question violates some protected right of the Defendant.” Hampton v. United States, 425

U.S. 484, 490 (1976). Such a defense is “rarely, if ever, . . . available.” United States v.

Brown, 635 F.2d 1207, 1212 (6th Cir. 1980) (citations and internal quotation marks

omitted). In addressing such an argument, courts employ a totality of the circumstances

test. United States v. Koubriti, 435 F. Supp. 2d 666, 678 (E.D. Mich. 2006).

       The Court finds that several of the defendant’s objections or allegations of error by

Judge Shirley ultimately amount to an objection to Judge Shirley’s finding that any

alleged violations of state law by the officers in this case did not constitute outrageous

conduct “shocking to the universal sense of justice” so as to merit dismissal of the

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indictment against the defendant [Doc. 403 pp. 5, 10, 14–15]. The defendant alleges that:

(1) Kristopher Mynatt’s oath was deficient because it did not include the portion

concerning bribery and was not properly filed; (2) Jason Mynatt had not taken the

requisite state oath when he was investigating the defendant, which violates Tennessee

law; and (3) Sheriff Stockton and Kelly Jackson may not have taken the requisite oaths

either, but that he is unable to ascertain whether such is the case. The defendant submits

that these officers were acting in violation of state law and without authority as law

enforcement officers—conduct that the defendant argues is outrageous.

       This Court has previously denied a defendant’s request for a new trial on the basis

that “a technical defect in a state officer’s state oath of office” warrants the suppression

of evidence, finding this sort of argument “contrary to Tennessee precedent.” O’Neal,

2013 WL 1089876, at *3. In addition, the Court noted that the Supreme Court has

indicated that the federal constitution is not the avenue through which to enforce state

law. Virginia v. Moore, 553 U.S. 164, 178 (2008) (stating that “the arrest rules that the

officers violated were those of state law alone, and as we have just concluded, it is not the

province of the Fourth Amendment to enforce state law”). Here, the defendant seeks to

use the federal constitution to attack a federal indictment based on violations of state law

relating to state oaths of office. Precedent weighs against the defendant’s argument.

       In any event, even if the oath-related allegations made by the defendant are taken

as true and indeed result in a violation of Tennessee law, this conduct does not constitute

the sort of outrageous police conduct that amounts to an infringement upon the

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defendant’s due process rights. Notably, Kristopher and Jason Mynatt took the requisite

oaths to join the federal task force that conducted the instant investigation, and each had

taken oaths in the past, indicating that any deficiency concerning their state oaths at the

time of the instant investigation was likely inadvertent, and quite possibly, as the

government argues, the result of an error by their superiors. Moreover, the defendant

does not allege that either Kristopher or Jason Mynatt behaved improperly during the

investigation, outside of participating in it without having properly completed their state

oaths.

         The Sixth Circuit has stated that the asserted outrageous conduct defense is

“rarely, if ever, . . . available.” Brown, 635 F.2d at 1212. Taking into account the totality

of the circumstances in this case, the Court finds that the alleged conduct on the part of

Kristopher and Jason Mynatt, as well as Sheriff Stockton and Kelly Jackson, is neither

outrageous nor shocking to the universal sense of justice, as the defendant submits.

Therefore, this alleged conduct did not violate the defendant’s due process rights, and the

Court accordingly denies the defendant’s motion to dismiss the indictment against him.

Russell, 411 U.S. at 431–32.

IV.      Conclusion

         In sum, after reviewing the record in this case, including the motion to dismiss, the

R&R, the objections, the underlying briefs, and the relevant law, the Court determines

that the magistrate judge fully and appropriately considered the arguments in support of

the motion to dismiss. Further, the Court agrees with the magistrate judge’s analysis and

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findings as to the issue of outrageousness and finds that this conclusion is dispositive of

the motion.    Accordingly, and for the reasons previously stated, the defendant’s

objections to the R&R [Doc. 403] are OVERRULED, the R&R [Doc. 393] is

ACCEPTED, and the defendant’s Motion to Dismiss Indictment [Doc. 337] is hereby

DENIED.

       IT IS SO ORDERED.



                                  s/ Thomas A. Varlan
                                  CHIEF UNITED STATES DISTRICT JUDGE




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